               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:08 CR 107


UNITED STATES OF AMERICA                      )
                                              )
Vs.                                           )             ORDER
                                              )
WARREN EDWARD FORNEY.                         )
______________________________________        )


       THIS CAUSE coming on to be heard before the undersigned, pursuant to a

pleading filed by the defendant entitled “Motion to Dismiss Counsel for his

Ineffectiveness” (#50) which the undersigned has considered as a motion that

substitute counsel be appointed in place and stead of his present court appointed

attorney, Walter Daniels. In the pleading, the defendant also request that he be

allowed to withdraw his plea of guilty in this matter.

       At the call of this matter on for hearing, the undersigned conducted an inquiry

with the defendant in a sealed proceeding. During the inquiry made by the

undersigned, the defendant advised the court that he wished to withdraw his motion

that substitute counsel be appointed in place and in stead of Mr. Daniels. As a result,

the undersigned will enter an order herein denying the “Motion to Dismiss Counsel

for his Ineffectiveness” (#50).

       In open court, with the United States Attorney present, the undersigned

addressed the issue of the request of the defendant to be allowed to withdraw his plea.


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The undersigned determined to allow the defendant further time to consult with his

counsel regarding such a request. The undersigned will deny that portion of the

defendant’s motion without prejudice and will allow the defendant and Mr. Daniels

up to and including August 12, 2009 to renew this motion if the defendant and his

counsel wish to make such motion.



                                     ORDER

      IT IS, THEREFORE, ORDERED that the “Motion to Dismiss Counsel for his

Ineffectiveness” (#50) considered by the undersigned as a motion to appoint

substitute counsel is hereby, at the request of the defendant, withdrawn and is

DENIED and the portion of the motion requesting that the defendant be allowed to

withdraw his plea of guilty is hereby DENIED without prejudice and the defendant

and his counsel are allowed up to August 12, 2009 to file a motion requesting

permission to withdraw the plea of guilty.



                                         Signed: July 31, 2009




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